  Case: 1:20-cv-06316 Document #: 120-3 Filed: 05/26/22 Page 1 of 1 PageID #:2780
                                                     U.S. Department of Justice

                                                     Civil Division, Torts Branch
                                                     Federal Tort Claims Act Staff


                                                     Post Office Box 888
                                                     Benjamin Franklin Station
                                                     Washington D€ 20044
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157-16-69193

                                               APR 28 2700



CERTIFIED MAIL- 7016 03LD 00DD 2L32 B+
RETURN RECEIPT REQUESTED

Dr. Fred Lee Nance, Jr.
17239 Evans Avenue
South Holland. IL 60473-3436

       Re: Administrative Tort Claim of Dr. Fred Lee Nance. Jr.

Dear Dr. Nance:

        We have reviewed the administrative tort claim you submitted to the U.S. Department of
Justice dated June 9, 2021, relative to the alleged acts or omissions of employees of the Office of
Justice Programs, the Bureau of Justice Assistance. and the U.S. Department of Justice occurring
from April 2020 to November 2021. After careful consideration. it has been determined that
your claim is not compensable. Accordingly, your claim must be and hereby is denied.

        I am required by law (28 C.ER. $ 14.9(a) to inform you that, if you are dissatisfied with
this determination, you may file suit in an appropriate United States District Court no later than
six months after the date of mailing of this notification of denial. 28 U.S.C. $ 2401(b).

                                             Very truly yours,



                                         .13 Director, Torts·Branch
